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 5                                   UNITED STATES DISTRICT COURT
 6                                           DISTRICT OF NEVADA
 7   MICHAEL T. MOORE,                         )
                                               )                   Case No. 2:17-cv-02022-RFB-NJK
 8                                 Plaintiff,  )
                                               )                                ORDER
 9   vs.                                       )
                                               )
10   LAS VEGAS METROPOLITAN POLICE             )
     DEPARTMENT, et al.,                       )
11                                             )
                                   Defendants. )
12   __________________________________________)
13          This matter is before the court on Plaintiff Michael T. Moore’s Application to Proceed In Forma
14   Pauperis. Docket No.1. Plaintiff has requested authority, pursuant to 28 U.S.C. § 1915, to proceed in
15   forma pauperis, and submitted a Complaint. This proceeding was referred to this court by Local Rule IB
16   1-9.
17          Plaintiff has submitted an incomplete Application to Proceed In Forma Pauperis. In response to
18   question 3, Plaintiff submits that all costs of living are paid by relatives. Plaintiff fails to, as the form
19   requires, describe each source of money and the amount received from each source, as well as what he
20   expects to receive in the future. Docket No. 1 at 1. Additionally, Plaintiff has not fully answered question
21   7. Though he submits that he supports a minor son, he fails to state how much he contributes to the support
22   of the child. Id. at 2. As a result, the Court cannot determine whether Plaintiff qualifies to proceed in
23   forma pauperis, and his Application will be denied without prejudice. The Clerk of Court shall retain the
24   Complaint.
25   ....
26   ....
27   ....
28   ....
     Case 2:17-cv-02022-RFB-NJK Document 5 Filed 10/11/17 Page 2 of 2



 1   Accordingly,
 2   IT IS ORDERED:
 3   1.     Plaintiff’s Application to Proceed In Forma Pauperis, Docket No. 1, is DENIED without
 4          prejudice. The Clerk of Court shall mail Plaintiff a blank application, and Plaintiff shall
 5          have until November 13, 2017, in which to submit the completed application or pay the
 6          $400.00 filing fee. Failure to comply with this order will result in a recommendation to the
 7          district judge for dismissal.
 8   2.     The Clerk of Court shall retain Plaintiff’s Complaint.
 9   Dated this 11th day of October, 2017.
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                                            ________________________________________
12                                          NANCY J. KOPPE
                                            UNITED STATES MAGISTRATE JUDGE
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